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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF MISSOURI
                                    SOUTHEASTERN DIVISION

                                                         )    Master Case No.
  IN RE DICAMBA HERBICIDES LITIGATION
                                                         )    1:18-md-02820-SNLJ
                                                         )
                                                         )    MDL No. 2820
                                                         )
                                                         )    This Document Relates To All Cases
                                                         )

                                 STIPULATED PROTOCOL
                       FOR THE PRODUCTION OF DOCUMENTS AND ESI

            The parties in the above-captioned litigation (collectively, “the Parties”), by and through

  their respective counsel, have jointly stipulated to the terms of this Stipulated Protocol for the

  Production of Documents and Electronically Stored Information (the “ESI Protocol”).

I.      SCOPE

            A.      Federal Rule of Civil Procedure 34 permits the Parties to specify the form or

  forms in which electronically stored information (“ESI”) is to be produced. Pursuant to Rule 34,

  this ESI Protocol shall govern the production of hard copy documents and other physical

  materials (“Documents”) and ESI by the Parties in the above-captioned consolidated MDL

     proceedings, including for all individual cases currently pending in MDL No. 2820 and cases

     that are later filed in, transferred to, or removed to this Court (the “Litigation”). The ESI

     Protocol shall also govern productions made by any third party who is subpoenaed in this

     Litigation, unless otherwise agreed to by the issuing party and the third party. Accordingly, this

     ESI Protocol shall be attached to any subpoena issued in this Litigation.

            B.      The ESI Protocol does not alter the Parties’ obligations to comply with the

     applicable Federal Rules of Civil Procedure and any applicable local rules regarding the

     production of Documents and ESI.

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        C.      The Parties incorporate the provisions of the Order Establishing Protective Order

 (ECF Doc. 54).

        D.      Nothing in this ESI Protocol establishes any agreement regarding the subject

 matter or scope of discovery in this Litigation, or the relevance, authenticity, or admissibility of

 any Documents or ESI.

        E.      Nothing in this ESI Protocol shall be interpreted to require production of

 Documents or ESI protected from disclosure by the attorney-client privilege, work product

 doctrine, common interest privilege, or any other applicable protection or privilege. Nor shall

 this ESI Protocol be interpreted to require production of Documents or ESI prohibited from

 disclosure under any similar law, regulation, rule, or court order. The Parties do not waive any

 objections to the production, discoverability, or confidentiality of Documents, ESI, or any other

 discovery materials, including but not limited to: objections regarding the proportionality of the

 discovery request or the burden, overbreadth, or relevance of Documents, ESI, or any other

 discovery materials.

        F.      Any Party that produced documents prior to the February 1, 2018 Transfer Order

 of the Judicial Panel on Multidistrict Litigation shall produce those documents in this Litigation

 as they were produced in the prior action or proceeding. These documents are not required to

 comply with this ESI Protocol nor is the party producing such documents (the “Producing

 Party”) required to provide any additional metadata overlay for these documents. Nothing in this

 Order obligates a party to re-produce processed or produced documents, unless those same

 documents or materials are also retrieved as a matter of course in connection with processing on-

 going ESI searches.




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               G.     Any practice or procedure set forth herein may be varied by written agreement of

       the Parties.

 II.       IDENTIFICATION OF CUSTODIANS AND SEARCH METHODOLOGY

           The procedure, scope, and limitations governing identification of custodians; identification

       and application of ESI search terms; and the timing and deadlines for conducting custodian-

       based ESI production will be set forth in a separate, forthcoming Stipulated ESI Custodian and

       Search Terms Protocol or order of court.

III.       PRODUCTION FORMAT

               A.     Paper Documents: Paper records will be scanned or otherwise converted into

       electronic form from paper Documents in the following format:

               1.     TIFFs. All Documents shall be scanned to single page Group 4, TIFF format, at

       least 300 dpi and 8 ½ x 11 inch page size, except for Documents requiring higher resolution or

       different page size. Documents with color in native format (e.g., color photographs or graphical

       representations) should be imaged to single page, JPEG format, to retain color. Each image file

       should have a unique file name which shall be the Bates number of the page.

               2.     In scanning paper Documents, images of Documents will be organized according

       to the manner in which they were maintained in the ordinary course of business, including,

       where available, copies of file folders, envelopes, or labels or other identifying marks on the

       containers in which the Documents were maintained, or organized and labeled to correspond to

       the categories in the document requests. In addition, where a paper document has “post-it” notes

       or any other affixed labels, the information on the label and/or note shall be scanned and

       produced to the extent practicable. Distinct Documents should not be merged into a single

       record, and single Documents should not be split into multiple records (i.e., paper Documents



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 should be logically unitized). The Parties will make their best efforts to have their vendors

 unitize Documents correctly and will commit to address situations where there are improperly

 unitized documents.

        3.      Coding Fields. The following coding fields should be provided, if applicable:

                   Field Name                                Field Description
       BegBates                               Beginning Bates# (including Prefix)
       EndBates                               Ending Bates# (including Prefix)
       BegAttach                              Beginning Bates number of the first document
                                              in an attachment range (only in emails with
                                              attachments)
       EndAttach                              Ending Bates number of the last document in
                                              attachment range (only in emails with
                                              attachments)
       PgCount                                Number of pages in the item
       Custodian                              Name of Custodian(s) of document (Last
                                              Name, First Name format) as available
       Confidentiality Designation            The designated level of confidentiality
                                              pursuant to the Protective Oder.
       Redacted                               User-generated field that will indicate
                                              redactions using “Y” for yes and “N” or Blank
                                              for no redaction.

        B.      Electronically Stored Information: The Parties will produce ESI in TIFF format

 according to the following specifications:

        1. All TIFF formatted documents will be single page, Group 4 TIFF at 300 X 300 dpi

 resolution and 8½ X 11 inch page size, except for documents requiring different resolution or

 page size. The requesting party retains the right to request a TIFF image in a higher resolution or

 larger page size if necessary to render the image legible or reasonably usable.

        2. To the extent practicable, each individual document based on an electronic file shall

 be accompanied by a corresponding text file with text that is extracted from the electronic file.

 The exception to this will be redacted documents, as discussed below.




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        3. An image load file, in standard Opticon format (OPT), standard IPro format (LFP), or

 standard Summation format (DII), showing the Bates number of each page and the appropriate

 unitization of the documents, will accompany all document images.

        4. Each imaged version of an electronic document will be created directly from the

 original electronic document. Word processing files, including Microsoft Word files, will be

 produced with tracked changes and comments showing and searchable in the extracted text.

 Documents that contain languages other than English, in whole or in part, shall be produced in

 the original language(s).

        5. The following metadata fields associated with each electronic document will be

 produced.

                                                                                    Required
                                                                          Required for Non-E-
       Field Name            Field Description                            for Email mail ESI
       Custodian             Name of Custodian(s) of email(s) or             x         x
                             file(s) produced (Last Name, First
                             Name format) as available
       Duplicate           Name of duplicate Custodian(s) of                 x         x
       Custodian       (if email(s) or file(s) produced
       globally
       deduplicated)
       BegBates              Beginning Bates# (including Prefix)             x         x
       EndBates              Ending Bates# (including Prefix)                x         x
       BegAttach             Beginning Bates number of the first             x         x
                             document in an attachment range (only
                             in emails with attachments)
       EndAttach             Ending Bates number of the last
                             document in attachment range (only in
                             emails with attachments)
       From                  From field extracted from an email message      x
       Author                Author field extracted from the                           x
                             metadata of a non-email document
       To                    To or Recipient extracted from an               x

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                                                                              Required
                                                                    Required for Non-E-
      Field Name          Field Description                         for Email mail ESI
                          email message
      Cc                  Carbon Copy (“Cc”) field extracted           x
                          from an email message
      Bcc                 Blind Carbon Copy (“Bcc”) field              x
                          extracted from an email message
      EmailSubject        Subject line extracted from an email         x
                          message
      Filename            File name — Original name of file as                   x
                          appeared in original location
      Title               Title field extracted from the metadata                x
                          of a non-email document
      DateSent            Sent date of an email message                x
                          (mm/dd/yyyy format) (a given email
                          will have either a DateSent or Date
                          Recvd, but not both)
      DateRcvd            Received date of an email message            x
                          (mm/dd/yyyy format) (a given email
                          will have either a DateSent or Date
                          Recvd, but not both)
      DateCreated         Date that a non-email file was created                 x
                          (mm/dd/yyyy format)
      Date           Last The application recorded time on                       x
      modified            which the document was last modified
      TimeSent            Time e-mail was sent (hh:mm:ss               x
                          format) (a given email will have either
                          a TimeSent or Time Recvd, but not
                          both)
      TimeRcvd            Time e-mail was received (hh:mm:ss           x
                          format) (a given email will have either
                          a TimeSent or Time Recvd, but not
                          both)
      File Path           File path storage location of the            x         x
                          document or email if the source
                          application allows for the creation of
                          folders
      Native Link         Relative path to any files produced in       x         x


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                                                                                 Required
                                                                       Required for Non-E-
       Field Name            Field Description                         for Email mail ESI
                             native format
       Text Link (if text Relative path to any OCR/extracted              x             x
       is exchanged)      text files in the production set
       Confidentiality       The designated level of confidentiality      x             x
       Designation           pursuant to the Protective Oder.


       Hash Value            MD5 or SHA-1 hash value used to              x            X
                             deduplicate the data
       Redacted              User-generated field that will indicate
                             redactions using “Y” for yes and “N”
                             or Blank for no redaction.


        6.      The Parties will produce the following ESI types in native file format: (a)

 spreadsheets; (b) audio/video files; (c) PowerPoint presentations; and (d) any files that cannot be

 imaged.

        7. Any document produced in native format, will be produced according to the

 following specifications:

                a. A unique bates number and confidentiality designation (if applicable) shall be

                    used as the file name and the original file name and file extension shall be

                    preserved in the corresponding load file.

                b. The native format documents shall be accompanied by reference information

                    that sets forth for each document, sufficient information to allow the Parties to

                    track and authenticate the native format documents produced, including: (i)

                    the name of the custodian from whose files the electronic file is produced; (ii)

                    an appropriately calculated “MD-5 Hash Value”; and (iii) the original name of

                    the file.

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                c. Any file produced in native format need not be imaged. Instead, a single page

                    placeholder image shall be provided that indicates the file was produced in

                    native format and contains the bates number of the corresponding file and any

                    confidentiality designation.

        8.      OLE embedded objects (embedded MS Office files, etc.) shall be extracted as

 separate files and treated as attachments to the parent document. Images embedded in emails

 shall not be produced as attachments unless they are responsive to a discovery request served

 upon the Producing Party.

        9.      Absent good cause shown, a party is not required to preserve, search, collect,

 review, or produce the following categories of electronic files:

               a. Any electronic file which matches the Reference Data Set published by the

                   National Institute of Standards and Technology’s National Software Reference

                   Library.

               b. System or executable files (.exe, .dll, etc.).

               c. Structural files not material to individual file contents that do not contain

                   substantive content (.css, .xsl, .xml, .dtd, etc.).

               d. Backup data files that are maintained in the normal course of business for

                   purposes of disaster recovery, including backup tapes, disks, SAN, and other

                   forms of media, and that are substantially duplicative of data that are more

                   accessible elsewhere. Absent a party’s specific written notice for good cause,

                   no party shall be required to modify or suspend procedures, including rotation

                   of backup media, used in the usual course of business to back up data and

                   systems for data recovery purposes.



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               e. Deleted, slack, fragmented, or unallocated data.

               f. Random access memory (RAM), temporary files, or other ephemeral data that

                   are difficult to preserve without disabling the operating system.

               g. On-line access data such as temporary internet files, history files, cache files,

                   and cookies.

               h. Data in metadata fields frequently updated automatically, such as last-opened

                   or last-printed dates.

               i. Instant messages, text messages, and voicemail not retained in the usual course

                   of business or pursuant to a litigation hold for the Litigation.

               j. Data remaining from systems no longer in use that are unreadable on the

                   systems in use.

        9.      No party shall be required to modify or suspend procedures, including rotation of

 backup media, used in the normal course of business to back up data and systems for disaster

 recovery purposes.

        C.      Redacted Files

        1.      Extracted text will not be provided for ESI that has been redacted—e.g., for

 privilege or trade secrets—because the extracted text would reveal the redacted information.

 Instead, these files should be run through an OCR process to capture the visible text only and the

 results exchanged in lieu of the original extracted text. The portion of the redacted text shall be

 clearly identified on the face of the TIFF image, either by masking the redacted content with

 electronic highlighting in black or through the use of redaction boxes.

        D.      Data Load Files/Cross-Reference Files




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        Fielded data should be exchanged via a document-level-database load file in one of two

 delimited formats. Either standard Concordance (DAT) or comma delimited (CSV). All image

 data should be delivered with a corresponding image load file in one of three formats; standard

 IPro (LFP), Opticon (OPT) or Summation (DII). The total number of images files referenced in

 the image load file should match the total number of images in the production delivery.

        E.      Deduping Documents and Most Inclusive Email Productions

        “Duplicate ESI” are exact duplicates based on the files’ MD5 or SHA-1 Hash Value. The

 Parties may dedupe documents including within each custodian or globally (i.e., across all

 Custodians). This will result in the Producing Party needing to produce only a single copy of

 responsive Duplicate ESI, provided that all other Custodians of the Duplicate ESI are listed in

 the “Custodians” or “Duplicate Custodian” field. The Producing Party agrees that the presence

 of a custodian’s name listed in the “Custodian” or “Duplicate Custodian” field is evidence that a

 duplicate of the document was located in that custodian’s file. The Parties shall de-duplicate

 stand-alone documents against stand-alone documents and shall de-duplicate top-level email

 documents against top-level email documents. De-duplication shall not break apart families. No

 document that is the parent or an attachment of a produced document may be withheld as a

 duplicate. In order to reduce the volume of entirely duplicative content within email threads, the

 Parties may but are not required to use email thread suppression. A Producing Party will agree

 to produce metadata for suppressed emails upon reasonable request.

        F.      Databases.

        A Party possessing databases that contain relevant information shall produce the

 information in the agreed upon format for ESI, in Excel, or Access, except where the Requesting




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 Party can show particularized need for another format. The Parties agree to meet and confer in

 good faith regarding discovery from relevant and proportional applications and databases.

        G.      Encrypted Data/Password Protected Files

        Certain files may contain encrypted data or be password protected. When the key or

 password can be obtained through reasonable efforts, a Producing Party should apply the

 appropriate key or password to the file and produce the file unencrypted.     If the party cannot

 obtain the key or password through reasonable efforts, the Producing Party should provide the

 file’s metadata in accordance with Section III.B in the production load file and a slip-sheet

 should be included in the image set, stating the file is an exception.

        H.      Residual, Fragmented, Damaged, or Temporary Data

        Parties reserve the right to not produce the following ESI files provided the Party

 identifies the file metadata that meet any search term criteria: data stored in a computer’s RAM,

 any data on unreadable or damaged disc sectors, readable data stored in proprietary format

 determined to be corrupted by the software capable of rendering the format, and data that would

 require forensic reconstruction.

        I.      Parent-Child Relationships for ESI Documents

        Parent-child relationships (the association between an attachment and its parent

 document) shall be preserved to the extent possible.            Attachments are to be produced

 contemporaneously and sequentially immediately after the parent document. Non-responsive

 attachments may be excluded from production. Non-responsive attachments excluded from

 production shall be produced as a Bates-numbered placeholder. The Parties will confer in good

 faith regarding any dispute over responsiveness of withheld attachments. Where the attachment

 (child document) is produced, the parent document associated with the attachment shall be



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   produced regardless of whether it is responsive or itself contains an ESI search term. The parent

   document associated with the responsive attachment will not be produced if it is protected by

   attorney-client privilege, the attorney work product doctrine, and/or any other applicable

   privilege; the privilege log entry for the withheld parent document will indicate the bates number

   of the produced attachment.       The Producing Party may redact Confidential or Highly

   Confidential Discovery Material contained within the parent document in accordance with the

   Order Establishing Protective Order (ECF Doc. 54) if the Confidential or Highly Confidential

   Discovery Material is unrelated to the responsive attachment.

IV.   PRODUCTION OF DISCOVERY MATERIALS CONTAINING POTENTIALLY
      PRIVILEGED OR PROTECTED INFORMATION

          A.      In accordance with Paragraph 14 of the Order Establishing Protective Order (ECF

   No. 54) regarding protections from waiver of the disclosure of attorney-privileged or work-

  product protected information under Federal Rule of Evidence 502(d), the Parties shall follow

  the procedure set forth in Federal Rule of Civil Procedure 26(b)(5)(B) regarding the claw back of

  potentially privileged or protected discovery materials. To that end, a Producing Party shall

  notify any Party that received the information of the claim and the basis for it. After being

  notified, a Party must, consistent with Paragraph IV.B., promptly return, sequester, or destroy the

  specified information and any copies it has; must not use or disclose the Information until the

  claim is resolved; must take reasonable steps to retrieve the Information if the Party disclosed it

  before being notified; and promptly present the Information to the Court under seal for a

  determination of the claim. The Producing Party must preserve the Information until the claim is

  resolved.

          B.      Prior to seeking resolution with the Court, the Parties shall first meet and confer

  within fourteen (14) days of notification of the production of such Information to resolve any

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     disagreement over whether the Information is protected by attorney-client privilege, attorney

     work product doctrine, and/or any other applicable privilege.           Within seven (7) days of

     conclusion of the meet and confer process, the Receiving Party must file a motion with the Court

     seeking resolution of any remaining disagreement as to whether the Information is protected by

     attorney-client privilege, attorney work product doctrine, and/or any other applicable privilege.

     The Receiving Party may not challenge the privilege or immunity claim by arguing that the

     disclosure of the Information itself is a waiver of any applicable privilege.

            C.      Any analyses, memoranda or notes which were internally generated based upon

     such produced Information shall immediately be placed in sealed envelopes, and shall be

     destroyed in the event that (a) the Receiving Party does not contest that the Information is

     privileged, or (b) the Court rules that the Information is privileged. Such analyses, memoranda

     or notes may only be removed from the sealed envelopes and returned to its intended purpose in

     the event that (a) the Producing Party agrees in writing that the Information is not privileged, or

     (b) the Court rules that the Information is not privileged.

V.          PRIVILEGE LOGGING

            A.      The Producing Parties will produce privilege logs in Excel format or a similar

 electronic format that allows text searching and organization of data, which will include at least

 the following fields: Bates #; Custodian; Date; To; From; CC; BCC; attorney-client privilege,

 attorney work product doctrine, and/or any other applicable privilege asserted; and basis for such

 assertion in compliance with the Federal Rules of Civil Procedure, applicable case law, and the

 Local Rules of this Court. The parties agree to meet and confer in good faith regarding any

 disputes as to privilege logs.

            B.      The following documents presumptively need not be included on a privilege log:



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                 i. Written or oral communications between a Party and its counsel after

                    commencement of the first-filed lawsuit that it was named as Party in and is

                    part of this Litigation (“First Lawsuit”) as it related to the conduct of that First

                    Lawsuit and/or other anticipated litigation; or

                 ii. Work product created by outside counsel, or by an agent of outside counsel

                    (other than a Party) after commencement of the First Lawsuit that is purely

                    related to the prosecution of that First Lawsuit and/or other anticipated

                    litigation. The parties also shall not be required to include on a privilege log

                    written or oral communication with experts retained after commencement of

                    the First Lawsuit and/or other anticipated litigation. Expert disclosures shall

                    be governed by the case management order.

           C.    An email thread for which a Party claims a privilege may be logged in a single

 entry. With respect to e-mail threads for which a Party claims a privilege, only the most

 inclusive e-mail shall be logged. However, the log will list any outside parties on the withheld e-

 mail thread that are not reflected in the metadata and the log will note their relationship to the

 Party. If an email thread contains both privileged and non-privileged emails, the responsive non-

 duplicative, non-privileged emails should be produced and any privileged emails withheld and

 logged.

           So ordered this 23rd day of July 2018.




                                                       STEPHEN N. LIMBAUGH, JR.
                                                       UNITED STATES DISTRICT JUDGE




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